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                                                         U.S. Department of Justice
                                                         United States Attorney
                                                         District of Maryland

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                                                         June 20, 2024

The Honorable James K. Bredar
United States District Court
for the District of Maryland
101 W. Lombard St.
Baltimore, MD 21201

           RE:        Status Report and Government’s Witness List for Motions Hearing set for June
                      25, 2024
                      United States of America v. Davante Harrison
                      JKB-22-439

Dear Judge Bredar:

       In advance of next week’s motions hearing involving Defendant Davante Harrison, the
Government submits this chart regarding the pending motions for Defendant Harrison and the
expected witness testimony. The Government believes a number of the pending motions can be
decided on the papers without witness testimony. Those motions that require testimony are noted
with the name of the Government’s witnesses.


 Defendant            Motion                                     ECF                Witness Testimony
                                                                 No.
 Davante              Motion to Dismiss Indictment for Violation 103                Legal argument only
 Harrison             of the Presentment Clause
                      Motion for Severance                       107                Legal argument only
                      Motion to Suppress Tangible Evidence 108                      Joseph Landsman (retired
                      Seized from the Search of a Cell Phone                        BPD/FBI); David Kincaid
                                                                                    (BPD); Jean Nolet (BPD)
                      Motion to Exclude Rap Music, Videos, and 109                  Legal argument only
                      Associated Content
                      Motion to Preclude Government from 110                        Legal argument only
                      Introducing Evidence as Set Out in Overt Act
                      41
                      Motion to Suppress Tangible, Derivative 112                   Joseph Landsman (retired
                      Evidence and Statements Pursuant to Federal                   BPD/FBI); Daniel Delorenzo
                      Rule 12(b)(3)                                                 (Charleston PD; former AA
                                                                                    County/FBI TFO); Mark
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                                                                  Neptune (Tampa Bay PD;
                                                                  former BPD/FBI TFO)
              Motion to Dismiss Sentencing Enhancement 113        Legal argument only
              and Alternatively, To Sever




                                              Very truly yours,

                                              Erek L. Barron
                                              United States Attorney


                                              _____/s/_____________________________
                                              Ari Evans
                                              Patricia McLane
                                              Kim Y. Hagan
                                              Assistant United States Attorneys


Filed via ECF on June 20, 2024
